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                                        UNITED STATES DISTRICT COURT
                                        SOUTHERN DISTRICT OF FLORIDA
                                               MIAMI DIVISION

                                          CASE NO.: 1:20-CV-23378-SCOLA


  BONITA DUPUIS,

              Plaintiff,

  v.

  CARNIVAL CORPORATION,

              Defendant,

  _______________________________________/

                   PLAINTIFF’S MOTION FOR PARTIAL SUMMARY JUDGMENT

              Plaintiff, BONITA DUPUIS (“Plaintiff” “Dupuis”), by and through undersigned counsel,

  and pursuant to Fed. R. Civ. P. 56, files Plaintiff’s Motion for Partial Summary Judgment as to

  Notice, and states the following in support thereof:

                                             SUMMARY OF ARGUMENT

              For the reasons stated herein, Defendant, CARNIVAL had actual or constructive notice

  of the hazardous condition (i.e., raised metal threshold) that Defendant repeatedly secured and

  modified which caused the Plaintiff to trip and fall. Furthermore, the evidence shows that

  Defendant, CARNIVAL created the dangerous condition at issue by repeatedly screwing down

  and modifying the metal threshold strip utilizing new screws. Alternatively, Defendant,

  CARNIVAL is estopped from presenting evidence related to the raised metal threshold as

  Defendant destroyed and failed to preserve the raised metal threshold at issue.1 In sum, due to




  1   It is undisputed that the metal threshold at issue is no longer available for inspection.
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  Defendant, CARNIVAL’s negligence it failed to warn Plaintiff of the dangerous condition of the

  threshold, thus breaching its duty to Plaintiff, and ultimately, causing injury to Plaintiff.

                   PLAINTIFF’S STATEMENT OF UNCONTESTED FACTS

         1.      On September 8, 2019, the Plaintiff, BONITA DUPUIS, boarded the cruise vessel

  Carnival Freedom as a passenger. See Complaint, D.E 1 ¶ 9.

         2.      Defendant, CARNIVAL CORPORATION, was the owner and operator of the

  Carnival Freedom. See Defendant, Carnival Corporation’s, Answer and Affirmative Defenses to

  Complaint, D.E. 6 ¶ 7.

         3.      Defendant, CARNIVAL CORPORATION, its agents, servants, and employees

  had a non-delegable duty to maintain its walkways, platforms, and decks in a reasonably safe

  condition for its passengers. See Compl., D.E. 1 ¶ ¶ 12, 20, 27.

         4.      Defendant, CARNIVAL CORPORATION, its agents, servants, and employees

  had a duty to warn Plaintiff of the concealed raised metal threshold tripping hazard that

  Defendant, CARNIVAL CORPORATION. See Compl., D.E 1 ¶ 15 (a)-(g).

         5.      Defendant, CARNIVAL CORPORATION, its agents, servants, and employees

  had a duty to maintain the area, regularly inspect and monitor the subject metal threshold warn

  Plaintiff of the concealed raised metal threshold tripping hazard that Defendant, CARNIVAL

  CORPORATION. See Compl., D.E 1 ¶ 22 (a)-(e).

         6.      Defendant, CARNIVAL CORPORATION, its agents, servants, and employees

  breached its duty of care owed to Plaintiff when it failed to correct and eliminate the hazardous

  raised metal threshold. See Compl., D.E 1 ¶ 28 (a)-(g).

         7.      Defendant admits that the applicable standard is reasonable care under the

  circumstances. See Def. Ans., D.E. 6 ¶¶ 12, 13, 20, 21, 27.
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         8.      On September 10, 2019, Plaintiff used the entranceway and threshold in the

  manner it was intended to be used for. See Compl., D.E. 1 ¶ 10.

         9.      Plaintiff tripped and fell over a raised metal threshold on the floor on the Lido

  Deck of the Carnival Freedom. See Compl., D.E. 1 ¶ 11.

         10.     Plaintiff severely injured her left side, neck, and back as a result of the accident.

  See Compl., D.E. 1 ¶ 10.

         11.     Plaintiff sued CARNIVAL asserting that: (1) CARNIVAL failed to warn the

  Plaintiff and fellow passengers of the dangerous and hazardous condition of the floor which the

  Defendant created and/or about which it had actual or constructive notice; and (2) CARNIVAL

  failed to maintain and failed to correct the hazardous condition thereby breaching its duty of

  care. See Compl., D.E. ¶ ¶ 15 (a)-(g), 22 (a)-(e), 28 (a)-(g).

         12.     Defendant denies liability and asserts twelve affirmative defenses in its Answer

  See Def’s Ans., D.E. 6.

         13.     Defendant contends that Plaintiff was instructed on the proper means of traversing

  threshold, including use of hand rails. See Def.’s Resp. to Pl.’s Interrog. No. 15, Exhibit 1.

         14.     There is no evidence to support the contention that hand rails existed when

  traversing the subject metal thresholds. See Def’s photograph of the subject area and threshold,

  Exhibit 2.

         15.     Defendant asserts that it “had no notice, actual, constructive, or otherwise of any

  dangerous condition which the Plaintiff alleges was the proximate cause of her damages….” See

  Def. Affirm. Def, D.E. 6 at 7.

         16.     In discovery, Plaintiff has obtained the Defendant’s Occupational Health & Safety

  Procedures on Prevention of Slips, Trips and Falls in Accommodation (Exhibit 3), Defendant’s
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  Additional Guidance for the Correct Implementation of the Procedure on Prevention of Slips,

  Trips and Falls in Accommodation Areas (Exhibit 4), Defendant’s Procedures on Reports and

  Analysis of Accidents (Exhibit 5), Defendant’s Procedures for Work Order Reports (Exhibit 6),

  photographs taken by Plaintiff after the subject incident (Composite Exhibit 7), photographs

  taken by Plaintiff’s former counsel at the inspection of the subject floor aboard the Carnival

  Freedom (Composite Exhibit 8).

         17.     In addition to documentary discovery, six depositions have been taken, including

  the depositions of Plaintiff (transcript attached as Exhibit 9) and Miles Dupuis (Plaintiff’s

  husband; transcript attached as Exhibit 10).

         18.     There is no testimony or evidence to refute the allegations, including the

  deposition of the Plaintiff’s husband, that the subject metal threshold had been repeatedly

  screwed down using different screws into the metal threshold before Plaintiff’s trip and fall on

  September 10, 2018. See M. Dupuis Depo, 122:1–17; 124:6–9, Exhibit 10.

         19.     There is no testimony or evidence that on September 10, 2018, immediately after

  the trip and fall, Defendant’s employees did not screw down the raised metal threshold. See B.

  Dupuis Depo, 126:18–23, Exhibit 9.

         20.     The testimony and evidence, including the photographs taken on September 11,

  2018, shows a myriad of holes on the metal strip threshold where prior screws were utilized in

  attempts to previously secure the threshold. See photos Comp. Exhibit 7.

         21.     The testimony and evidence, including the photographs taken during the vessel

  inspection show that the threshold has been removed and no longer in existence. See photos

  Comp. Exhibit 8.
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                                    MEMORANDUM OF LAW

  A. SUMMARY JUDGMENT SHOULD BE GRANTED

          Federal Rule of Civil Procedure 56 provides that “[i]f there is no genuine issue of

  material fact, summary judgment is proper because it avoids needless and costly litigation and

  promotes judicial efficiency.” St. Paul Fire & Marine Ins. Co. v. Marine Transportation Services

  Sea-Barge Group, Inc., 727 F.Supp. 1438, 1441 (S.D. Fla. 1989). Once a party properly makes a

  summary judgment motion by demonstrating the absence of a genuine issue of material fact,

  whether or not accompanied by affidavits, the nonmoving party must go beyond the pleadings

  through the use of affidavits, depositions, answers to interrogatories and admissions on file, and

  designate specific facts showing that there is a genuine issue for trial. Celotex Corp. v. Catrett,

  477 U.S. 317, 324, 91 L. Ed. 2d 265, 106 S. Ct. 2548 (1986) (Once movant has met its initial

  burden demonstrating that there is no genuine issue of material fact, the burden shifts to

  nonmovant to provide evidence from discovery devices listed in Rule 56(c) other than pleadings,

  demonstrating that genuine issue of material fact exists); Gargiulo v. G.M. Sales, Inc., 131 F.3d

  995, 999 (11th Cir. 1997); Avirgan v. Hull, 932 F.2d 1572, 1577 (11th Cir. 1991); see also Fed.

  R. Civ. P. 56(e) (“The evidence presented cannot consist of conclusory allegations or legal

  conclusions;” nonmovant's response “... must set forth specific facts showing that there is a

  genuine issue for trial.”).

          The mere allegation of an alleged factual dispute will not defeat an otherwise properly

  supported motion for summary judgment. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48,

  91 L. Ed. 2d 202, 106 S. Ct. 2505 (1986). Only facts from which a reasonable jury could return a

  verdict for the nonmoving party will preclude the entry of summary judgment on a properly

  supported motion for summary judgment. Id. Summary judgment is mandated “against a party
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  who fails to make a showing sufficient to establish the existence of an element essential to that

  party's case, and on which that party will bear the burden of proof at trial.” Paulucci v. Liberty

  Mut. Fire Ins. Co., 190 F. Supp. 2d 1312, 1316 (M.D. Fla. 2002), quoting; Celotex, 477 U.S. at

  322. In ruling on a motion for summary judgment, “the function of the court is not to ‘weigh the

  evidence and determine the truth of the matter but to determine whether there is an issue for

  trial.’” Paulucci, 190 F. Supp. 2d at 1316, quoting Lockett v. Wal-Mart Stores, Inc., 2000 U.S.

  Dist. LEXIS 3016, 2000 WL 284295, at *2 (S.D. Ala. 2000) (quoting Anderson, 477 U.S. at

  249).

  B. DUTY OF CARE

          “A high degree of care is demanded of common carriers toward their passengers.”

  Vierling v. Celebrity Cruises, Inc., 339 F.3d 1309, 1319 (11th Cir. 2003) (emphasis added);

  Arango v. Guzman Travel Advisors, 761 F.2d 1527, 1537 (11th Cir. 1985) (“[a] common carrier

  is obligated to exercise a high degree of care with respect to the boarding, carriage, and

  disembarkment of its passengers”); Villeta v. Carnival Corp., No. 13-24369-CIV, 2014 WL

  11930610, at *2 (S.D. Fla. Oct. 6, 2014); McLean v. Carnival Corp., No. 12-24295-CIV, 2013

  WL 1024257, at *3 (S.D. Fla. Mar. 14, 2013). This duty is “nondelegable ... even the slightest

  negligence renders a carrier liable.” Vierling, 339 F.3d at 1319 (emphasis added) (citation and

  internal quotation marks omitted); Villeta, 2014 WL 11930610 at *2; McLean, 2013 WL

  1024257 at *3. Included in this duty is the common carrier's duty to exercise reasonable care for

  a passenger's safety under the circumstances. McLean, 2013 WL 1024257 at *3; see also Higgs

  v. Costa Crociere S.P.A. Co., No. 15-60280-CIV, 2016 WL 4375434, at *2 (S.D. Fla. Jan. 14,

  2016) (quoting Keefe v. Bahama Cruise Line, Inc., 867 F.2d 1318, 1322 (11th Cir. 1989)); and

  Villeta, 2014 WL 11930610 at *2. A cruise ship operator's duty of reasonable care to its
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  passengers includes “a duty to warn passengers of dangers of which the carrier knows or should

  know, but which may not be apparent to a reasonable passenger.” Lugo v. Carnival Corp., 154 F.

  Supp. 3d 1341, 1345 (S.D. Fla. 2015). A dangerous condition is one that is not apparent or

  obvious to the passenger. Smolnikar v. Royal Caribbean Cruises, Ltd., 787 F. Supp. 2d 1308,

  1315 (S.D. Fla. 2009).

              1. The Threshold was Repeatedly Repaired

         It is clear from the Plaintiff’s Statement (Exhibit 11) that Plaintiff suffered her injury

  when she tripped and fell as a result of the threshold that was not properly maintained by

  Defendant. Moreover, it is undisputed that the photographs taken the following day demonstrate

  that Defendant had repeatedly attempted to repair the metal strip on the threshold, including

  moments after Plaintiff’s accident (Exhibit 7).

              2. Carnival Breached its Duty to Plaintiff When It Knew or Should Have
                 Known that the Threshold Was Deficient and Failed to Correct or Cure the
                 Deficiency or Warn Plaintiff About It

         Generally, “to prove breach of the standard of reasonable care, a plaintiff must generally

  establish that the cruise ship operator had actual or constructive notice of the risk-creating

  condition.” Higgs, 2016 WL 4375434, at *2. Additionally, “‘negligent maintenance’ is a viable

  theory of breach and proximate causation in a maritime negligence suit.” Holderbaum v.

  Carnival Corp., 87 F. Supp. 3d 1345, 1358 (S.D. Fla. 2015). To this effect, “‘the law in the

  Eleventh Circuit, as established by the former Fifth Circuit, is that advisory guidelines and

  recommendations, while not conclusive, are admissible as bearing on the standard of care in

  determining negligence.’” Cook v. Royal Caribbean Cruises, Ltd., No. 11-20723-CIV, 2012 WL

  1792628, at *3 (S.D. Fla. May 15, 2012) (quoting Muncie Aviation Corp. v. Party Doll Fleet,

  Inc., 519 F.2d 1178 (5th Cir.1975) (affirming admission of advisory materials published by the
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  Federal Aviation Administration); see also Frazier v. Continental Oil Co., 568 F.2d 378 (5th

  Cir.1978) (reversing trial judge's order granting a directed verdict to defendant because district

  court improperly failed to consider expert witness testimony based on industry standards in the

  National Fire Protection Association Code). “Such guidelines are also probative of the

  defendant's constructive knowledge of the allegedly hazardous condition.” Holderbaum, 87 F.

  Supp. 3d at 1358.

         First, Carnival was on actual notice of an issue with the subject threshold because

  shipboard personnel placed new screw in the metal strip after the Plaintiff’s injury. Plaintiff’s

  husband, Miles Dupuis testified that both he and Plaintiff went to the subject threshold to take a

  video and photographs of the area the day after the accident and found that new screws were

  placed in the metal strip. See M. Dupuis Depo, 118:10–11, Exhibit 10. Mr. Dupuis, having a

  background in engineering and a family history of construction, immediately recognized the

  color difference between the screws and metal threshold that were, prior to Plaintiff’s injury, the

  same color. See M. Dupuis Depo, 118:24–25, Exhibit 10. Mr. Dupuis also recognized the

  myriad of holes in the strip from numerous attempts to hold down the metal strip in the

  threshold. See M. Dupuis Depo, 122:1–17; 124:6–9, Exhibit 10. This has been unrefuted by

  Carnival by any admissible evidence.

         Alternatively, Defendant was on constructive notice. Defendant hired the person who

  installed the metal strip on the threshold. Additionally, Defendant, through its supervisors,

  ordered the numerous attempts to repair the threshold. It is undisputed that the subject threshold

  was improperly maintained on the date of Plaintiff’s accident and still made available for use by

  Carnival’s passengers without any warning of the unsafe conditions and without a handrail to

  hold on to when going over the threshold.
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         Carnival failed to comply with industry standards regarding maintenance procedures.

  Had Carnival been properly maintaining the threshold, the metal strip would have been properly

  secured and/or completely removed. Instead, it allowed the entryway to be used with a metal

  strip that was inappropriately screwed down causing it to lift above the industry height

  requirements for and failed to properly correct it. Furthermore, Carnival has failed to produce

  any admissible evidence of any warning given to Plaintiff that the threshold was not operating

  correctly or that Plaintiff should use the entryway with caution.

                 3. Alternatively, Carnival Breached Its Duty to Plaintiff When It Created
                    the Dangerous Condition by Having the Subject Threshold Installed on
                    Its Ship and Also by Failing to Properly Maintain the Threshold.

     Even if Defendant, CARNIVAL did not have constructive notice of a dangerous condition,

  “it still may be held liable for the Plaintiff's injuries for allegedly having created the unsafe or

  foreseeably hazardous condition.” Caldwell v. Carnival Corp., 944 F. Supp. 2d 1219, 1224 (S.D.

  Fla. 2013). As the court explained in McDonough v. Celebrity Cruises, Inc., 64 F. Supp. 2d 259,

  264 (S.D.N.Y. 1999):

       To require a plaintiff to also establish notice in a case where the defendant's own
       activities created a foreseeable and unreasonable risk of harm would be inappropriate.
       Such a requirement would have the absurd result that negligence actions could only be
       brought after a dangerous condition or practice created by a defendant claimed a
       previous victim, whose own recovery would be barred by the absence of notice.”

         Importantly, a dangerous condition can be caused by improper and negligent

  maintenance. Recently, in Sampson v. Carnival Corp., No. 15-24339-CIV, 2016 WL 7209844, at

  *5 (S.D. Fla. Dec. 7, 2016), the court denied Carnival Cruise Line's Motion for Summary

  Judgment, holding that, “since Plaintiff alleges that Defendant created the dangerous condition—

  by failing to inspect and maintain the outdoor deck in a safe way [D.E. 6]—Plaintiff does not

  need to prove notice in order to show negligence.” (Internal quotations and citations omitted).
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   Similarly, in Long v. Celebrity Cruises, Inc., 982 F. Supp. 2d 1313, 1316-17 (S.D. Fla. 2013), the

   court denied Celebrity Cruise Lines' motion for summary judgment explaining that where a

   cruise ship operator created the unsafe or foreseeably hazardous condition, by improper and

   negligent maintenance of a metal stair nosing that was the cause of plaintiff's fall, plaintiff did

   not need to prove notice in order to show negligence. In Nelson v. Target Corp., No. 8:07-CV-

   1990-T-17EAJ, 2009 WL 971414, at *1 (M.D. Fla. Apr. 8, 2009), the court denied Target's

   Motion for Summary Judgment because plaintiff had provided evidence that Target negligently

   maintained the lighting system in the parking lot, which created the dangerous working condition

   causing the Plaintiffs injury.

          Even assuming arguendo that Defendant, CARNIVAL did not have actual or

   constructive notice or knowledge of the issue with the threshold, they created the dangerous

   condition by failing to conduct proper maintenance of the threshold. Instead, Defendant,

   CARNIVAL repeatedly modified the metal threshold strip by repeatedly removing and utilizing

   new screws and making new holes in the metal threshold strip or keep it down.

          By creating the dangerous condition, Defendant, CARNIVAL clearly breached its duty to

   provide Plaintiff with a reasonably safe entranceway. Instead, Defendant, CARNIVAL it allowed

   the deficient and hazardous metal threshold strip to project above the acceptable industry

   standard height and failing to properly correct the condition. Furthermore, Defendant,

   CARNIVAL has failed to produce any evidence of any warning given to Plaintiff that the

   threshold was not properly secured or that Plaintiff should use the entranceway with caution.
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                                           CONCLUSION

             In sum, Plaintiff, BONITA DUPUIS has shown that there are no issues of material facts

   as it relates to Defendant, CARNIVAL notice of the hazardous metal threshold strip. In fact, is it

   indisputable that Defendant, CARNIVAL had constructive or actual notice of the hazardous

   condition by Defendant’s modification of the subject threshold. As a result, Defendant,

   CARNIVAL breached its duty to Plaintiff by failing to properly maintain the threshold, monitor

   the threshold or warn the Plaintiff of its concealed dangers. Accordingly, Plaintiff, BONITA

   DUPUIS is entitled to partial summary judgment as a matter of law as to constructive or actual

   notice of the condition.

             WHEREFORE, Plaintiff, BONITA DUPUIS, respectfully requests that this Honorable

   Court grant her Motion for Partial Summary Judgment as to Defendant’s constructive or actual

   notice of the metal threshold strip, and grant any and all further relief as it deems necessary and

   proper.

                                                        Respectfully submitted.


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                                       SERVICE LIST

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